                                            IN THE UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF ALABAMA
                                                     SOUTHERN DIVISION


UNITED STATES OF AMERICA                                                                                         *

                  vs.                                                                                            * CRIMINAL NO. 16-00259-WS-N

FRANK PETER SALAMONE                                                                                             *
HEATHER TURNER ERWIN,

                  Defendant.                                                                                     *


                                                                                                     ORDER

                  This matter came before the undersigned on February 14, 2017 for a

pretrial conference. Present at the conference were the following: Assistant

United States Attorney Lawrence Bullard; Frederick Helmsing, Esq., counsel

for Defendant Heather Turner Erwin, and Cynthia Burney, Esq., counsel for

Defendant Frank Peter Salamone. On February 14, 2017 AUSA Bullard filed

a motion to continue the trial of this matter from its current March 2017

setting. (Doc. 47).1 As grounds for the motion the United States maintains, in

sum, that the co-defendant, Marangely Conde was arrested February 9, 2017,

in the Middle District of Florida and is scheduled to be arraigned in the

Southern District of Alabama on February 22, 2017. As such, she will be set

for trial during the April 2017 trial term. Ms. Conde is the final co-defendant

to be arrested in this case and the United States seeks a one month

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  AUSA	  Bullard	  made	  an	  oral	  motion	  to	  continue	  at	  the	  time	  of	  the	  pretrial	  conference.	  	  Ms.	  

Burney	  indicated	  that	  her	  client	  was	  opposed	  to	  a	  continuance.	  	  As	  such	  the	  undersigned	  
requested	  that	  the	  AUSA	  file	  a	  formal	  motion	  and	  that	  Ms.	  Burney	  file	  her	  objections	  thereto.	  	  	  


	                                                                                                             1	  
continuance of trial so that the jointly indicted defendants may be tried

together.

                   Mr. Helmsing advises that his client, Defendant Erwin, has no

objection to the motion.                                                           However, Ms. Burney advises that her client,

Defendant Salamone, opposes the motion and has filed written objections.

(Doc. 49) Defendant Salamone objects to the continuance on the grounds, in

sum, that he is the sole financial provider for his family and his continued

detention is causing his family an extreme hardship. (Doc. 49)2.

                   Defendants are charged in a four count indictment with conspiracy to

distribute Methylphenidate Hydrochloride (Ritalin), conspiracy to import

Methylphenidate Hydrochloride (Ritalin), Possession with the Intent to

Distribute Methylphenidate Hydrochloride (Ritalin) and Importation of a

Controlled Substance. (Doc. 1) The undersigned notes that no motion for

severance has been filed and the defendants are still joined for trial.

                   The undersigned finds that the ends of justice served by continuing

this action for one (1) month outweighs the best interests of the public and

the defendants in a speedy trial. 18 U.S.C.A. § 3161(h)(7)(A). Specifically, the	  

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2	  Defendant	  Salamone’s	  detention	  hearing	  was	  initially	  conducted	  in	  the	  Southern	  District	  

of	  Mississippi.	  	  The	  magistrate	  judge	  ordered	  Defendant	  detained	  based	  on	  the	  amount	  of	  
time	  defendant	  faced	  if	  convicted	  and	  the	  fact	  that	  defendant	  tested	  positive	  for	  
methamphetamine.	  	  Upon	  motion	  of	  defense	  counsel,	  the	  undersigned	  held	  a	  second	  
detention	  hearing	  at	  which	  time	  it	  was	  represented	  that	  if	  convicted	  the	  Defendant	  is	  facing	  
a	  range	  of	  0-­‐6	  months.	  	  Additionally,	  Defendant’s	  drug	  test	  returned	  negative	  from	  the	  
National	  Lab.	  	  Thereafter,	  the	  undersigned	  set	  conditions	  of	  release,	  which	  included	  that	  
Salamone	  have	  suitable	  housing.	  	  Defendant’s	  co-­‐defendant	  (spouse)	  was	  released	  by	  the	  
judge	  in	  	  Mississippi	  to	  the	  family	  home.	  	  Because	  defendants	  are	  charged	  in	  a	  drug	  
conspiracy	  the	  undersigned	  concluded	  that	  they	  could	  not	  reside	  together	  pending	  the	  
resolution	  of	  this	  case.	  


	                                                                                                              2	  
ends	  of	  justice	  served	  by	  continuing	  the	  trial	  of	  Ms.	  Erwin	  and	  Mr.	  Salamone	  so	  their	  

cases	  can	  be	  tried	  simultaneously	  with	  that	  of	  their	  recently	  arrested	  co-­‐defendant,	  

"outweighs	  the	  best	  interest	  of	  the	  public	  and	  the	  defendants	  in	  a	  speedy	  trial."	  18	  

U.S.C.A.	  '	  3161(h)(7)(A).	  	  Specifically,	  because	  all	  three	  defendants	  are	  charged	  in	  

the	  Indictment	  with	  participating	  in	  the	  same	  act	  or	  in	  the	  same	  series	  of	  acts	  or	  

transactions	  (drug	  conspiracy,),	  it	  is	  more	  efficient	  for	  all	  involved	  to	  proceed	  on	  the	  

case	  in	  one	  trial.	  	  For	  purposes	  of	  the	  Speedy	  Trial	  Act,	  any	  delay	  resulting	  from	  this	  

continuance	  is	  excludable	  pursuant	  to	  18	  U.S.C.	  3161(h)(6)	  ("A	  reasonable	  period	  of	  

delay	  when	  the	  defendant	  is	  joined	  for	  trial	  with	  a	  co-­‐defendant	  as	  to	  whom	  the	  time	  

for	  trial	  has	  not	  run	  and	  no	  motion	  for	  severance	  has	  been	  granted.").	  

                    Under these circumstances, and upon consideration of the objections

filed by Defendant Salamone, the motion to continue is granted and this

case is hereby CONTINUED to the April 2017 criminal term. For purposes

of the Speedy Trial Act, any delay resulting from this continuance is

excludable pursuant to 18 U.S.C. § 3161(h)(7)(A).

                    Each defendant and his/her respective counsel filing a Speedy Trial

Waiver on or before February 24, 2017. 3 The Clerk is directed to refer this

matter to Magistrate Judge Sonja Bivins to set a pretrial conference in March

2017.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
3	  The	  waiver	  shall	  include	  language	  which	  reflects	  that	  (A)	  counsel	  has	  discussed	  the	  

reasons	  for	  seeking	  a	  continuance	  with	  Defendant;	  (B)	  Defendant	  understands	  that	  the	  time	  
requested	  in	  the	  motion	  to	  continue	  trial	  of	  this	  matter	  will	  be	  excluded	  from	  any	  
calculations	  of	  time	  under	  the	  Speedy	  Trial	  Act;	  and	  (3)	  with	  this	  understanding	  and	  
knowledge,	  Defendant	  agrees	  to	  a	  continuance	  of	  this	  action	  to	  the	  April	  2017	  criminal	  trial	  
term.	  
	  


	                                                                                                                     3	  
       ORDERED this the 16th day of February 2017.

                              /s/ Katherine P. Nelson
                              UNITED STATES MAGISTRATE JUDGE




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